      Case 4:10-cv-02386 Document 232 Filed in TXSD on 07/31/18 Page 1 of 5



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                             )
EXXON MOBIL CORPORATION,                     )
                                             )
                         Plaintiff,          )
                                             )
                    v.                       )       Civil Action Nos. H-10-2386 (LHR)
                                             )                         H-11-1814 (LHR)
UNITED STATES OF AMERICA,                    )
                                             )
                         Defendant.          )
                                             )


    PLAINTIFF EXXON MOBIL CORPORATION’S RESPONSE TO DEFENDANT’S
           SUPPLEMENTAL REFERENCE TO EXISTING AUTHORITY

         Plaintiff Exxon Mobil Corporation (“Exxon”) submits this response to the Defendant’s

Supplemental Reference to Existing Authority in the above-captioned cases (ECF No. 228; filed

July 24, 2018) (“Supplemental Reference”). The cases cited by the Defendant United States

(“Government”) in the Supplemental Reference are all distinguishable from the present actions, as

is already discussed at length in Exxon’s briefs in the cross-motions for partial summary judgment

currently pending before the Court. See Plaintiff Exxon Mobil Corporation’s Response in

Opposition to United States’ Motion for Partial Summary Judgment on Phase Two Issues, Case

No. 10-2386 et al. (ECF No. 209; filed March 23, 2018) (“Exxon Response”), at 14-16. For

instance, several of the cases deal only with remedial, not removal actions, and the determination

by the courts in those cases that there could be multiple remedial actions was based on EPA’s

decision to separate the Superfund Site at issue into multiple operable units, or “OUs” (and OUs

are unique to remedial actions, see 40. C.F.R. § 300.430). See United States v. Manzo, 182 F.

Supp. 2d 385, 402 (D.N.J. 2001); United States v. Akzo Nobel Coatings, Inc., 990 F. Supp. 897,




Active 38383470.1                                1
      Case 4:10-cv-02386 Document 232 Filed in TXSD on 07/31/18 Page 2 of 5



904-906 (E.D. Mich. 1998).1

         Similarly, in Bernstein v. Bankert, 733 F.3d 190 (7th Cir. 2013), the court had to determine

the impact of the fact that EPA had entered into two different Administrative Orders on Consent

(“AOCs”) with respect to the same site. The focus of the court’s analysis in that case was not

whether, generally speaking, there could be multiple removal actions at a given site for purposes

of CERCLA section 113(g)(2)(A) (the statute of limitations triggered by completion of a removal

action), but instead what the limitations periods should be in that case given that other limitation

periods may have been triggered under CERCLA section 113(g)(3) by the two AOCs. Likewise,

while the court in Raytheon Constructors, Inc. v. ASARCO, Inc., No. 96-N-2072, 2000 WL

1635482 (D. Colo. March 31, 2000) did assess whether different phases of the activities at issue

were “removal” or “remedial,” the statute of limitations was not at issue in that case and the court

therefore did not undertake any formal analysis of whether there can be more than one “removal

action” at a given site.

         Accordingly, Exxon maintains that the key cases – including the Sixth and Tenth Circuit

cases cited by the Government in its Supplemental Reference – represent the majority view on this

issue and accurately reflect CERCLA’s statutory language, which indicates that generally speaking

there can be only one removal action per site. See also Geraghty & Miller, Inc. v. Conoco Inc.,

234 F.3d 917, 921-22, 925-27 (5th Cir. 2000) (effectively treating “three phases” of removal

activities conducted during the 1980s and early 1990s as a single removal action before concluding

that the 1997 CERCLA suit had been timely brought).




1
  Valbruna Slater Steel Corp. v. Joslyn Manufacturing Co., No. 1-10-cv-044, 2013 WL 1182985,
at *10-11 (N.D. Ind. March 21, 2013) and United States v. Ambroid Co., 34 F. Supp. 2d 86, 89-90
(D. Mass. 1999) are also both addressed in Exxon’s Response at 15 n. 11 & 12.


Active 38383470.1                                 2
      Case 4:10-cv-02386 Document 232 Filed in TXSD on 07/31/18 Page 3 of 5



Dated: July 31, 2018                 Respectfully submitted,


                                      /s/ Daniel M. Steinway
                                     Daniel M. Steinway (S.D. Tex. No. 1105349) -
                                     Attorney in Charge
                                     Tynan Buthod (S.D. Tex. No. 14036)
                                     Michael McGovern (S.D. Tex. No. 1095459)
                                     BAKER BOTTS L.L.P.
                                     The Warner
                                     1299 Pennsylvania Avenue, N.W.
                                     Washington, D.C. 20004-2400
                                     Tel.: (202) 639-7700
                                     Fax: (202) 639-7980
                                     daniel.steinway@bakerbotts.com

                                     Counsel for Plaintiff Exxon Mobil Corporation




Active 38383470.1                       3
      Case 4:10-cv-02386 Document 232 Filed in TXSD on 07/31/18 Page 4 of 5



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 31st day of July 2018 I served the foregoing on the following

counsel for Defendant United States of America via the Court’s ECF service upon:

         Michael D. Rowe, Esq.
         United States Department of Justice
         Environment Division
         Environmental Defense Section
         601 D Street, N.W., Room 8110
         Washington, D.C. 20004
         michael.rowe@usdoj.gov

         Erica Zilioli
         United States Department of Justice
         Environment Division
         Environmental Defense Section
         601 D Street, N.W., Room 8110
         Washington, D.C. 20004
         erica.zilioli@usdoj.gov

         Justin D. Heminger, Esq.
         United States Department of Justice
         Environment Division
         Environmental Defense Section
         601 D Street, N.W., Room 8110
         Washington, D.C. 20004
         justin.heminger@usdoj.gov

         Stephanie J. Talbert
         United States Department of Justice
         Environment Division
         Environmental Defense Section
         601 D Street, N.W., Room 8110
         Washington, D.C. 20004
         stephanie.talbert@usdoj.gov

         Brian H. Lynk
         United States Department of Justice
         Environment Division
         Environmental Defense Section
         601 D Street, N.W., Room 8110
         Washington, D.C. 20004
         brian.lynk@usdoj.gov




Active 38383470.1                                 4
      Case 4:10-cv-02386 Document 232 Filed in TXSD on 07/31/18 Page 5 of 5




                                     /s/ Michael McGovern
                                     Daniel M. Steinway (S.D. Tex. No. 1105349) -
                                     Attorney in Charge
                                     Tynan Buthod (S.D. Tex. No. 14036)
                                     Michael McGovern (S.D. Tex. No. 1095459)
                                     BAKER BOTTS L.L.P.
                                     The Warner
                                     1299 Pennsylvania Avenue, N.W.
                                     Washington, D.C. 20004-2400
                                     Tel.: (202) 639-7700
                                     Fax: (202) 639-7980
                                     michael.mcgovern@bakerbotts.com

                                     Counsel for Exxon Mobil Corporation




Active 38383470.1                       5
